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				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2017 OK 51Case Number: SCBD-6396Decided: 06/19/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 51, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

&nbsp;



IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2015




ORDER STRIKING NAMES


The Board of Governors of the Oklahoma Bar Association filed an application for an Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls and from the practice of law in the State of Oklahoma for failure to comply with the Rules for Mandatory Continuing Legal Education, 5 O.S. 2001, ch. 1, app. 1-B, for the year 2015.

Pursuant to Rule 6(d) of the Rules for Mandatory Continuing Legal Education, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Association and the practice of law in the State of Oklahoma by Order of this Court on June 6, 2016, for noncompliance with Rules 3 and&nbsp;5 of the Rules for Mandatory Continuing Legal Education for the year 2015. Based on its application, this Court finds that the Board of Governors determined at their May&nbsp;19, 2017, meeting that none of the Oklahoma Bar Association's members named on Exhibit&nbsp;A, attached hereto, have applied for reinstatement within one year of the suspension order. Further, the Board of Governors declared that the members set out on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and their names should therefore be stricken from its membership rolls and the Roll of Attorneys on June 6, 2017. This Court finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

It is therefore ordered that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys for failure to comply with the Rules for mandatory Continuing Legal Education for the year 2015.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 19TH DAY OF JUNE, 2017.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



&nbsp;


&nbsp;

EXHIBIT A
(MCLE - STRIKE)

Vance William Armor, OBA #14914
P.O. Box 2242
Oklahoma City, OK 73101-2242

Kelly Dawn Bell, OBA No. 19403
7753 S. Mingo
Tulsa, OK 74133

Leon Douglas Bragg Jr., OBA #22780
1709 Chamblee Dr.
Norman, OK 73071

John Jay Dalton, OBA #15381
4050 E. 53rd St.
Tulsa, OK 74135

James Martin Graves, OBA #16657
P.O. Box 3618
Fayetteville, AR 72702

John Christopher Hastings, OBA #14735
620 North West 54th
Oklahoma City, OK 73118

Steven Erik Hjelm, OBA #17230
9010 S. Darlington Ave.
Tulsa, OK 74137

Amber Dawn Huffman-Sanderson,
OBA #21705
P.O. Box 332
Marlow, OK 73055-0332

Noah Douglas Johnson, OBA #32026
8815 Audrie Rae Ln.
Cypress, TX 77433

Stephanie Michelle Lorance, OBA #22633
217 N. Harvey, Ste. 406
Oklahoma City, OK 73102

David Charles Mainprize, OBA #30779
1721b W. Easton St.
Tulsa, OK 74127

Corrine Lynn O'Day, OBA #19900
6226 E. 101st St. S., Ste. 300
Tulsa, OK 74137

Brian Edward Powley, OBA #17691
7628 N.W. 101st St.
Oklahoma City, OK 73162-5301

Laure M. Resides, OBA #19521
12113 Cliff Rose Drive
Oklahoma City, OK 73162

Jeffrey Daniel Shelton, OBA #31305
210 Park Ave., Suite 1140
Oklahoma City, OK 73102

Lorin Marc Subar, OBA #31296
10440 N. Central Expy., Suite 520
Dallas, TX 75231

Leslie Dillon Thomas, OBA #31794
9191 Siegen Lane, Suite 5B
Baton Rouge, LA 70810





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